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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Attorney for Defendant
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     LATASHA RENE WEBB
 6
 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,          )
11                                      )    NO. CR.S-08-082-EJG
                     Plaintiff,         )
12                                      )
          v.                            )
13                                      )    STIPULATION AND ORDER TO CONTINUE
                                        )    STATUS CONFERENCE AND EXCLUDE
14                                      )    TIME
     LATASHA RENEE WEBB, et al.         )
15                                      )    Date: March 20, 2009
                    Defendants.              Time: 10:00 a.m.
16   _____________________________           Judge: Hon. Edward J. Garcia

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          IT IS HEREBY STIPULATED by and between the parties hereto through
18
     their respective counsel, MICHAEL BECKWITH, Assistant United States
19
     Attorney, attorney for Plaintiff, and RACHELLE BARBOUR, Assistant
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     Federal Defender, attorney for defendant, LATASHA RENEE WEBB, that the
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     status conference set for February 27, 2009 be continued to March 20,
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     2009 at 10:00 a.m.
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          This continuance is being requested because the parties are close
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     to reaching a deferred prosecution resolution in this case and need
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     additional time to finalize it.        Defense counsel needs time to discuss
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     the matter with Ms. Webb.
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          For this reason, the parties agree that the ends of justice to be
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              Case 2:08-cr-00082-WBS Document 43 Filed 02/25/09 Page 2 of 2


 1   served by a continuance outweigh the best interests of the public and
 2   the defendant in a speedy trial and that time under the Speedy Trial
 3   Act may be excluded from the date of this order through March 20, 2009,
 4   pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv)(Local Code T4) [reasonable
 5   time to prepare].
 6
                                               Respectfully submitted,
 7                                             DANIEL J. BRODERICK
                                               Federal Defender
 8
 9
     DATED: February 24, 2009                  /s/ RACHELLE BARBOUR
10                                             RACHELLE BARBOUR
                                               Attorney for Defendant
11                                             LATASHA RENEE WEBB
12
                                              McGREGOR SCOTT
13                                            United States Attorney
14
15   DATED: February 24, 2009                 /s/ RACHELLE BARBOUR for
                                              MICHAEL BECKWITH
16                                            Assistant U.S. Attorney
                                              Attorney for Plaintiff
17
18                                        O R D E R
19        IT IS SO ORDERED.
20
     DATED:     February 24, 2009              /s/Edward J. Garcia
21                                             EDWARD J. GARCIA
                                               United States District Judge
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